      Case 8:25-cv-00201-DLB            Document 97-10      Filed 06/27/25      Page 1 of 5



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                Plaintiffs,

         v.
                                                        Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,                                Honorable Deborah L. Boardman

                Defendants.




DECLARATION OF ZACHARY MANFREDI IN SUPPORT OF PLAINTIFFS’ MOTION
                   FOR CLASS CERTIFICATION

       I, Zachary Manfredi, declare under the penalty of perjury that this declaration is true and

correct pursuant to 28 U.S.C. § 1746.

       1.      I am the Litigation and Advocacy Director at the Asylum Seeker Advocacy Project

(“ASAP”) and an attorney admitted to practice in the State of California. I submit this declaration

to detail my qualifications and my ASAP attorney colleagues’ qualifications to serve as class

counsel in support of Plaintiffs’ Motion for Class Certification. I have personal knowledge of the

contents of this declaration.

       2.      ASAP is a national, voluntary membership organization of asylum seekers

incorporated as a 501(c)(3) organization in New York, New York. As of June 2025, ASAP has

over 700,000 members from more than 175 countries who reside in all 50 U.S. states and several

U.S. territories. ASAP works with its members to advocate for a more welcoming United States.

As part of that goal, ASAP regularly engages in litigation. I have worked at ASAP as an attorney
      Case 8:25-cv-00201-DLB          Document 97-10         Filed 06/27/25     Page 2 of 5



since 2019. I oversee ASAP’s litigation and directly supervise the Deputy Litigation Director,

Jessica Hanson, and ASAP’s litigation attorneys and law clerks.

       3.      At ASAP, I have litigated several immigration-related federal court matters. I have

served as putative class counsel in Tony N. et al. v. U.S. Citizenship and Immigr. Servs., No. 21-

cv-08742 (N.D. Cal.) (putative class action asserting Administrative Procedure Act (“APA”) and

mandamus claims), and counsel in CASA de Maryland, Inc., v. Mayorkas (formerly CASA v. Wolf),

No. 20-cv-02118 (D. Md.) (asserting APA and federal statutory claims); DA v. United States, No.

20-cv-03082 (N.D. Ill.) (FTCA claims); AESE v. United States, Case 2:21-cv-00569 (D.N.M.)

(FTCA claims); and Leticia et ano. v. United States, No. 22-cv-05727 (E.D.N.Y.) (FTCA claims).

I have also worked closely with counsel who represent ASAP as an organizational plaintiff in other

major federal litigation, including Las Americas v. Trump, No. 3:19-cv-02051 (D. Ore.) (asserting

claims under the APA, U.S. Constitution, and other federal statutes), and ASAP v. Barr, No. 1:19-

cv-06443 (S.D.N.Y.) (asserting U.S. constitutional and statutory claims), and worked closely with

class counsel as part of the Steering Committee in Ms. L. v. U.S. Immigr. and Customs Enfc’mt,

No. 18-cv-00428 (S.D. Cal.) (class action alleging U.S. constitutional claims). I have also been

extensively involved in the investigation and preparation of the instant lawsuit.

       4.      As a law student, I engaged in significant class action practice and worked

extensively on two class action lawsuits, Darweesh et al. v. Trump et al., Case 1:17-cv-00480

(E.D.N.Y. filed Jan. 28, 2017) (class habeas), and Reid v. Donelan, Case 3:13-cv-30125 (D. Mass.

filed Aug. 16, 2013) (class action asserting federal statutory claim). In law school I also worked

on other major federal immigration litigation, including Batalla Vidal v. Baran, No. 16-cv-04756

(E.D.N.Y.) (class action asserting APA claims).
      Case 8:25-cv-00201-DLB           Document 97-10         Filed 06/27/25       Page 3 of 5



       5.      I am a member in good standing of the California bar, have been admitted to the

Fourth Circuit Court of Appeals, and have been admitted to practice pro hac vice in the federal

district courts of the District of Maryland, the Northern District of Illinois, and the District of New

Mexico.

       6.      I hold a J.D. from Yale Law School and a PhD in Rhetoric from the University of

California, Berkeley (with specializations in legal history and jurisprudence). I clerked for the

Honorable Justice Goodwin Liu of the California Supreme Court from 2018 to 2019.

       7.      Jessica Hanson is the Deputy Litigation Director at ASAP and is also co-counsel

for Plaintiffs and the Proposed Class in this matter. It is my understanding that Ms. Hanson

received her J.D. from UCLA School of Law in 2016, and her undergraduate degree from UNC

Chapel Hill in 2010. Since 2016 Ms. Hanson has continuously practiced federal civil rights

litigation. From 2016-2018 she completed a Skadden Fellowship with the National Immigration

Law Center (“NILC”), where she also worked as Staff Attorney from 2022-2023. At NILC, Ms.

Hanson litigated numerous immigrants’ rights matters in federal court, including serving as or

working closely with class counsel in Batalla-Vidal v. Wolf, No. 16-cv-4756 (E.D.N.Y.) (class

counsel in action asserting APA claims); Valle del Sol v. Whiting, No. CV 2:10-cv-01061-PHX-

SRB (D. Ariz.) (supported class counsel in action asserting U.S. and state constitutional and federal

statutory claims); Orantes-Hernandez v. Garland, No. 2:1982-cv-01107 (C.D. Cal.) (class counsel

in action enforcing permanent injunction); Unknown Parties, et al. v. Johnson, et al., No. 15-cv-

00250 (D. Ariz.) (supported class counsel in action asserting claims under the APA and U.S.

Constitution); and Osoria et al. v. Ducey, No. 16-cv-03072 (D. Ariz.) (class counsel in action

asserting U.S. constitutional claims). From 2018-2021 Ms. Hanson was an associate at Covington

& Burling, LLP, where she litigated numerous complex commercial and plaintiff-side insurance
      Case 8:25-cv-00201-DLB           Document 97-10         Filed 06/27/25      Page 4 of 5



matters and also served as counsel in the following civil rights litigation matters: A.P.F. et al. v.

United States, No. 20-cv-00065 (D. Ariz.) (FTCA claims on behalf of six families); City of Los

Angeles v. Sessions, et al., No. 18-cv-07347 (C.D. Cal.) (APA and constitutional claims); Romero

Najera v. Barr, et al., No. 20-cv-00866 (C.D. Cal.) (individual habeas), Romero Gutierrez v. Barr

et al., No. 20-cv-00912 (C.D. Cal.) (individual habeas); Montero Alvizures v. Barr, et al., No. 20-

cv-00935 (C.D. Cal.) (individual habeas); Abdelsalam v. Barr, et al., No. 20-cv-01461 (C.D. Cal.)

(individual habeas).       At Covington, Ms. Hanson also served as counsel in an individual

noncitizen’s removal proceedings and in civil rights disputes against governmental entities that

were settled prior to filing litigation. At ASAP, Ms. Hanson has litigated multiple FTCA and FOIA

cases and has counseled other litigators and non-profit organizations on their federal civil rights

litigation strategy. Ms. Hanson has also been involved in the investigation and preparation of the

instant lawsuit, including extensive communications with putative class members in the English

and Spanish languages. Ms. Hanson is admitted to the state bars of California and Massachusetts;

the District Court for the Central District of California; the Second, Fifth, and Ninth Circuit Courts

of Appeals; and has been admitted pro hac vice in the Eastern District of New York, Southern

District of Florida, District of Arizona, District of Hawaii, District of Columbia, and in this Court.

Ms. Hanson directly supervises two litigation staff attorneys, Marcela Johnson and Juan Bedoya,

who have provided and will continue to provide litigation support for this case.

        8.      Because of the years of experience in handling immigration and civil rights class

actions and individual cases as detailed above, the attorneys handling this case have knowledge of

the applicable laws in this area and are qualified, experienced, and generally able to conduct the

litigation of this case.
      Case 8:25-cv-00201-DLB            Document 97-10         Filed 06/27/25       Page 5 of 5



        9.      ASAP attorneys participated in investigating the facts that gave rise to this litigation

and in drafting pleadings and motions, including the Complaint, Motion for Preliminary

Injunction, Opposition to the Government’s Requests to Stay the Preliminary Injunction, First

Amended Complaint, and the Motion for Class Certification. ASAP attorneys are familiar with the

issues and are in a position to devote substantial resources to this litigation going forward. ASAP

is representing the class pro bono and is not receiving reimbursement from the individual Plaintiffs

or class members in this case. We will zealously represent the Plaintiffs and the class.

        10.     I do not anticipate any reason that class members would dispute the adequacy of

ASAP’s representation, and I am aware of no conflicts of interest between ASAP and any members

of the class.


I certify, under the penalty of perjury, that this declaration is true and correct pursuant to 28
U.S.C. § 1746.

DATE: June 25, 2025
                                                __________________________________________

                                                Zachary Manfredi
                                                Litigation and Advocacy Director
                                                Asylum Seeker Advocacy Project
